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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

 MARTA REYES; LAWRENCE WOOD;
 STEPHEN CLYNE and THE PITCHING LAB               CASE NO. 1:20-cv-21108-UU
 d/b/a TBT TRAINING; TODD KUNTZE;                 HON. URSULA UNGARO
 SAUNDRA ANDRINGA-MEUER;                          Miami Division
 JESSICA MERRITT; JOHN VECCHIARELLO;              CLASS ACTION
 LINDA IGLESIAS; CONSTANCE GREENE;
 BRYAN EADS; JENNIFER MITCHELL, as
 Personal Representative of the Estate of James
 Mitchell; LORRAINE CAGGIANO MAIORINO;
 RAY BODINE; GEORGE ROGOZINSKI;
 KIMBERLY ELLER; SHERRY WERNER;
 WILLIAM DAMELIO; JUDY HART;
 SB HOLDINGS I, LLC; ROBERT JARVIS;
 SEAGRASS RESORT, LLC;
 BILL MCCUTCHEON; DR. ANDREW
 NEWMAN; MR. M’S SANDWICH SHOP, INC.;
 JUPITER DONUTS; GALLERY ART GROUP, INC.;
 SOUTH FLORIDA SURFING CORP. d/b/a
 ISLAND WATER SPORTS MIAMI;
 SAMSON TOURS INC.; EAST AIR
 CORPORATION; ROBERT SHAFFER; and
 KARL UMBACH; on behalf of themselves,
 and all those similarly situated,

             Plaintiffs,

 v.

 PEOPLE’S REPUBLIC OF CHINA;
 COMMUNIST PARTY OF CHINA;
 NATIONAL HEALTH COMMISSION
 OF THE PEOPLE’S
 REPUBLIC OF CHINA;
 WUHAN HEALTH COMMISSION;
 HUBEI HEALTH COMMISSION;
 THE PEOPLE’S GOVERNMENT OF HUBEI
 PROVINCE; THE PEOPLE’S GOVERNMENT
 OF CITY OF WUHAN, CHINA; and WUHAN
 INSTITUTE OF VIROLOGY, CHINESE
 ACADEMY OF SCIENCES,

 Defendants.
 _____________________________________/
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         STATUS REPORT PURSUANT TO COURT’S APRIL 23, 2020 ORDER

        Plaintiffs, by and through undersigned counsel, hereby provide the Court with a

 Status Report pursuant to the Court’s April 23, 2020 Order, which requires Plaintiffs to

 file a status report every fifteen days. [DE 10].

        Plaintiffs filed their fifty-six page First Amended Complaint this past Monday, May

 4, 2020, which identified new Named Plaintiffs (and Classes) and Defendants, added

 pertinent facts as to jurisdictional issues and the claims, and both added and dropped

 causes of action. Undersigned have selected a service vendor experienced in serving

 China, and are readying a copy of the First Amended Complaint translated into Official

 Chinese. As soon as the translation is finished, service of process will begin using the

 Hague Convention treaty protocols, which China is a signatory to, and which is the

 process to be followed here.

        As the next fifteen day period ends on the Saturday of Memorial Day weekend,

 Plaintiffs will file their next Status Report on Tuesday, May 26, 2020.

        Respectfully submitted this 8th day of May, 2020.

                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been filed this

 May 8, 2020, with the Court’s CM/ECF filing system, which shall cause an email notice

 to be sent to all parties of record in this matter.



                                      By: /s Matthew T. Moore
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